       Case 24-03472-5-DMW                                 Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                       Page 1 of 60

Fill in this information to identify your case:

Debtor 1                   Alona Chervina Keys
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  EASTERN DISTRICT OF NORTH CAROLINA

Case number           24-03472-5-DMW
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             225,950.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              27,922.71

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             253,872.71

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             256,500.98

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                6,000.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              21,832.29


                                                                                                                                    Your total liabilities $               284,333.27


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                8,510.82

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                8,510.60

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
     Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 2 of 60
Debtor 1   Alona Chervina Keys                                                          Case number (if known) 24-03472-5-DMW

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         11,778.39


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
       Case 24-03472-5-DMW                                      Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                            Page 3 of 60

Fill in this information to identify your case and this filing:

Debtor 1                    Alona Chervina Keys
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NORTH CAROLINA

Case number            24-03472-5-DMW                                                                                                                           Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       5148 Holly Ridge Farm Rd                                                       Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       Raleigh                           NC        27616-0000                         Land                                       entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                               $451,900.00                $225,950.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Tenancy by the Entirety
       Wake                                                                           Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Valued at Zillow value


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $225,950.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
        Case 24-03472-5-DMW                          Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                Page 4 of 60
Debtor 1         Alona Chervina Keys                                                                               Case number (if known)       24-03472-5-DMW
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Chrysler                                 Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Pacifica                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2018                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                98,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         1/2 interest in vehicle jointly
         owned with spouse. Vehicle                             Check if this is community property                                  $18,163.00                  $9,081.50
         valued at JD Power average                              (see instructions)

         retail of $18,163.00.
         Location: 5148 Holly Ridge
         Farm Rd, Raleigh NC 27616


  3.2    Make:      Ford                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Focus                                       Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2008                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:              170,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Valued at FMV (inherited but not
         titled in Debtor's name yet);                          Check if this is community property                                    $1,000.00                 $1,000.00
         Location: 5148 Holly Ridge                              (see instructions)

         Farm Rd, Raleigh NC 27616


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $10,081.50


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   1/2 interest in jointly owned (with spouse): Couch, King Size Bed,
                                   Refrigerator, Kitchen Table, Microwave, Dining Room Table, 2 Full
                                   Size Bed, Small Kitchen Appliances, 3 Computer Desks, 1 Twin
                                   Bed, 1 Small Couch, 1 Dining Table, Small House Furniture (valued
                                   at FMV);
                                   Location: 5148 Holly Ridge Farm Rd, Raleigh NC 27616                                                                           $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No

Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
      Case 24-03472-5-DMW                      Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                     Page 5 of 60
Debtor 1      Alona Chervina Keys                                                                   Case number (if known)     24-03472-5-DMW

      Yes. Describe.....

                               1/2 interest in jointly owned (with spouse): Electronics: 65 Inch Tv;
                               42 Inch Tv, 50 Inch Tv, 1 Xbox Console, 5 Computer Screens, 1
                               Nintendo Switch, 1 Oculus Headwear, 4 Iphones, 2 Apple Watches,
                               6 Ipad Tablets (valued at FMV);
                               Location: 5148 Holly Ridge Farm Rd, Raleigh NC 27616                                                              $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Clothing and shoes (valued at FMV);
                               Location: 5148 Holly Ridge Farm Rd, Raleigh NC 27616                                                                $750.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               Jewelry: Engagement Ring, Wedding Rings, Diamond Necklace
                               (valued at FMV);
                               Location: 5148 Holly Ridge Farm Rd, Raleigh NC 27616                                                              $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                               Dog;
                               Location: 5148 Holly Ridge Farm Rd, Raleigh NC 27616                                                                   $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                        $5,250.00


Part 4: Describe Your Financial Assets
Official Form 106A/B                                         Schedule A/B: Property                                                                   page 3
      Case 24-03472-5-DMW                                          Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                      Page 6 of 60
Debtor 1         Alona Chervina Keys                                                                                        Case number (if known)   24-03472-5-DMW
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                1/2 interest in jointly owned (with spouse):
                                            17.1.       Checking                                Wells Fargo. Balance = $1,034.00.                                    $517.00



                                            17.2.       Checking                                SECU                                                                  $48.58


                                                                                                1/2 interest in jointly owned (with spouse):
                                            17.3.       Savings                                 Wells Fargo. Balance = $6,000.27.                                  $3,000.14



                                            17.4.       Savings                                 SECU                                                                  $25.49


                                                                                                Custodial account for minor child - balance
                                            17.5.       Savings                                 $526.00                                                                 $0.00


                                                                                                Custodial account for minor child - balance
                                            17.6.       Savings                                 $526.00                                                                 $0.00


                                                                                                Custodial account for minor child - balance
                                            17.7.       Savings                                 $526.00                                                                 $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                                                  Institution name:

Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 4
      Case 24-03472-5-DMW                             Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                      Page 7 of 60
Debtor 1        Alona Chervina Keys                                                                         Case number (if known)      24-03472-5-DMW


                                        Roth IRA                          Wealthfront                                                                 $9,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                       Beneficiary:                            Surrender or refund
                                                                                                                                           value:




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 5
      Case 24-03472-5-DMW                                  Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                       Page 8 of 60
Debtor 1        Alona Chervina Keys                                                                                             Case number (if known)        24-03472-5-DMW


                                            Term life insurance through
                                            Northwestern Mutual                                                      Beneficiary = Spouse                                      $0.00


                                            Homeowners insurance through
                                            Nationwide                                                                                                                         $0.00


                                            Vehicle insurance through Geico                                                                                                    $0.00


                                            Pet insurance                                                                                                                      $0.00


                                            Health insurance through spouse's
                                            employer                                                                                                                           $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................           $12,591.21


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                          Schedule A/B: Property                                                                           page 6
       Case 24-03472-5-DMW                                    Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                       Page 9 of 60
Debtor 1         Alona Chervina Keys                                                                                                   Case number (if known)   24-03472-5-DMW

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................             $225,950.00
56. Part 2: Total vehicles, line 5                                                                           $10,081.50
57. Part 3: Total personal and household items, line 15                                                       $5,250.00
58. Part 4: Total financial assets, line 36                                                                  $12,591.21
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $27,922.71              Copy personal property total          $27,922.71

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $253,872.71




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 7
         Case 24-03472-5-DMW                         Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                  Page 10 of
                                                                     60
Fill in this information to identify your case:

Debtor 1                Alona Chervina Keys
                        First Name                    Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF NORTH CAROLINA

Case number           24-03472-5-DMW
(if known)                                                                                                                         Check if this is an
                                                                                                                                   amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on      Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property              portion you own
                                                        Copy the value from    Check only one box for each exemption.
                                                        Schedule A/B

     5148 Holly Ridge Farm Rd Raleigh,                       $225,950.00                               $208,253.29      11 USC § 522(b)(3)(B)
     NC 27616 Wake County
     Valued at Zillow value                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.1                                                    any applicable statutory limit

     5148 Holly Ridge Farm Rd Raleigh,                       $225,950.00                                       $0.00    N.C. Gen. Stat. § 1C-1601(a)(1)
     NC 27616 Wake County
     Valued at Zillow value                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.1                                                    any applicable statutory limit

     2018 Chrysler Pacifica 98,000 miles                        $9,081.50                                 $2,654.37     N.C. Gen. Stat. § 1C-1601(a)(3)
     1/2 interest in vehicle jointly owned
     with spouse. Vehicle valued at JD                                              100% of fair market value, up to
     Power average retail of $18,163.00.                                            any applicable statutory limit
     Location: 5148 Holly Ridge Farm Rd,
     Raleigh NC 27616
     Line from Schedule A/B: 3.1

     2008 Ford Focus 170,000 miles                              $1,000.00                                   $965.86     N.C. Gen. Stat. § 1C-1601(a)(2)
     Valued at FMV (inherited but not
     titled in Debtor's name yet);                                                  100% of fair market value, up to
     Location: 5148 Holly Ridge Farm Rd,                                            any applicable statutory limit
     Raleigh NC 27616
     Line from Schedule A/B: 3.2



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
       Case 24-03472-5-DMW                          Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 11 of
                                                                    60
Debtor 1   Alona Chervina Keys                                                                  Case number (if known)     24-03472-5-DMW
    Brief description of the property and line on     Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property             portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B

    1/2 interest in jointly owned (with                      $2,000.00                                  $2,000.00        N.C. Gen. Stat. § 1C-1601(a)(4)
    spouse): Couch, King Size Bed,
    Refrigerator, Kitchen Table,                                                  100% of fair market value, up to
    Microwave, Dining Room Table, 2                                               any applicable statutory limit
    Full Size Bed, Small Kitchen
    Appliances, 3 Computer Desks, 1
    Twin Bed, 1 Small Couch, 1 Dining
    Table, Small House Furniture (val
    Line from Schedule A/B: 6.1

    1/2 interest in jointly owned (with                      $1,500.00                                  $1,500.00        N.C. Gen. Stat. § 1C-1601(a)(4)
    spouse): Electronics: 65 Inch Tv; 42
    Inch Tv, 50 Inch Tv, 1 Xbox Console,                                          100% of fair market value, up to
    5 Computer Screens, 1 Nintendo                                                any applicable statutory limit
    Switch, 1 Oculus Headwear, 4
    Iphones, 2 Apple Watches, 6 Ipad
    Tablets (valued at FMV);
    Location: 5148 Holly Ridge
    Line from Schedule A/B: 7.1

    Clothing and shoes (valued at FMV);                         $750.00                                   $750.00        N.C. Gen. Stat. § 1C-1601(a)(4)
    Location: 5148 Holly Ridge Farm Rd,
    Raleigh NC 27616                                                              100% of fair market value, up to
    Line from Schedule A/B: 11.1                                                  any applicable statutory limit

    Jewelry: Engagement Ring, Wedding                        $1,000.00                                    $500.00        N.C. Const. Art. X § 1
    Rings, Diamond Necklace (valued at
    FMV);                                                                         100% of fair market value, up to
    Location: 5148 Holly Ridge Farm Rd,                                           any applicable statutory limit
    Raleigh NC 27616
    Line from Schedule A/B: 12.1

    Jewelry: Engagement Ring, Wedding                        $1,000.00                                    $500.00        N.C. Gen. Stat. § 1C-1601(a)(4)
    Rings, Diamond Necklace (valued at
    FMV);                                                                         100% of fair market value, up to
    Location: 5148 Holly Ridge Farm Rd,                                           any applicable statutory limit
    Raleigh NC 27616
    Line from Schedule A/B: 12.1

    Checking: 1/2 interest in jointly                           $517.00                                   $517.00        N.C. Gen. Stat. § 1C-1601(a)(2)
    owned (with spouse): Wells Fargo.
    Balance = $1,034.00.                                                          100% of fair market value, up to
    Line from Schedule A/B: 17.1                                                  any applicable statutory limit

    Savings: 1/2 interest in jointly owned                   $3,000.14                                  $3,000.14        N.C. Gen. Stat. § 1C-1601(a)(2)
    (with spouse): Wells Fargo. Balance
    = $6,000.27.                                                                  100% of fair market value, up to
    Line from Schedule A/B: 17.3                                                  any applicable statutory limit

    Roth IRA: Wealthfront                                    $9,000.00                                  $9,000.00        N.C. Gen. Stat. § 1C-1601(a)(9)
    Line from Schedule A/B: 21.1
                                                                                  100% of fair market value, up to
                                                                                  any applicable statutory limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                        page 2 of 3
       Case 24-03472-5-DMW                     Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                  Page 12 of
                                                               60
Debtor 1    Alona Chervina Keys                                                              Case number (if known)      24-03472-5-DMW
3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                            Schedule C: The Property You Claim as Exempt                                                page 3 of 3
       Case 24-03472-5-DMW                     Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 13 of
                                                               60
Rev. 5/2022
                                                      UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF NORTH CAROLINA

IN THE MATTER OF:                                                                                                 CASE NUMBER:
Alona Chervina Keys                                                                                               24-03472-5-DMW
           Debtor(s).


                                                 SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,   Alona Chervina Keys        , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North
Carolina, and nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with
rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former
co-owner, if a child use initials only, of the property below).

                                        Owner
                                        (D1)Debtor 1                                     Amount of
Description of Property          Market (D2)Debtor 2 Mortgage Holder                     Mortgage                 Net       Value Claimed as Exempt
and Address                       Value (J)Joint     or Lien Holder                        or Lien              Value Pursuant to NCGS 1C-1601(a)(1)
5148 Holly Ridge           451,900.00                    Shellpoint                   238,146.71        104,126.65                                  0.00
Farm Rd Raleigh,                                         Mortgage                       5,500.00       50% owned
NC 27616 Wake                                            Servicing
County                                                   Stoneridge
Valued at Zillow                                         Owners Assoc.,
value                                                    Inc.

Debtor's Age:
Name of former co-owner:

                                       VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                                     0.00

          2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                        Owner
                                        (D1)Debtor 1
Model, Year                      Market (D2)Debtor 2                                     Amount of                Net       Value Claimed as Exempt
Style of Auto                     Value (J)Joint     Lien Holder                             Lien               Value Pursuant to NCGS 1C-1601(a)(3)
2018 Chrysler               18,163.00                    State Employees                12,854.27         2,654.37                             2,654.37
Pacifica 98,000                                          Credit Union                                  50% owned
miles
1/2 interest in
vehicle jointly
owned with
spouse. Vehicle
valued at JD Power
average retail of
$18,163.00.
Location: 5148
Holly Ridge Farm
Rd, Raleigh NC
27616

                                   VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                                  2,654.37

         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 3 .

                                                Owner
                                                (D1)Debtor 1                                                                         Claimed as Exempt
Description                              Market (D2)Debtor 2      Lien                               Amount                   Net     Pursuant to NCGS
of Property                               Value (J)Joint          Holder                              of Lien               Value         1C-1601(a)(4)




Schedule C-1 - Property Claimed as Exempt - 3/2016
      Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                     Page 14 of
                                                                60
                                                Owner
                                                (D1)Debtor 1                                                                           Claimed as Exempt
Description                              Market (D2)Debtor 2        Lien                                 Amount                  Net    Pursuant to NCGS
of Property                               Value (J)Joint            Holder                                of Lien              Value        1C-1601(a)(4)
1/2 interest in jointly
owned (with
spouse): Couch,
King Size Bed,
Refrigerator,
Kitchen Table,
Microwave, Dining
Room Table, 2 Full
Size Bed, Small
Kitchen Appliances,
3 Computer Desks,
1 Twin Bed, 1 Small
Couch, 1 Dining
Table, Small House                                                                                                         2,000.00
Furniture (val                        4,000.00                                                                          50% owned              2,000.00
1/2 interest in jointly
owned (with
spouse):
Electronics: 65 Inch
Tv; 42 Inch Tv, 50
Inch Tv, 1 Xbox
Console, 5
Computer Screens,
1 Nintendo Switch, 1
Oculus Headwear, 4
Iphones, 2 Apple
Watches, 6 Ipad
Tablets (valued at
FMV);
Location: 5148 Holly                                                                                                       1,500.00
Ridge                                 3,000.00                                                                          50% owned              1,500.00
Clothing and shoes
(valued at FMV);
Location: 5148 Holly
Ridge Farm Rd,
Raleigh NC 27616                        750.00                                                                               750.00              750.00
Jewelry:
Engagement Ring,
Wedding Rings,
Diamond Necklace
(valued at FMV);
Location: 5148 Holly
Ridge Farm Rd,
Raleigh NC 27616                      1,000.00                                                                             1,000.00              500.00

                                                            VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                          4,750.00

         4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                        Owner
                                        (D1)Debtor 1
                                 Market (D2)Debtor 2 Lien                                    Amount of                Net       Value Claimed as Exempt
Description                       Value (J)Joint     Holder                                      Lien               Value Pursuant to NCGS 1C-1601(a)(5)
-NONE-

                                                            VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                               0.00

         5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

                                                                                                                                                   Cash
Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                         Value

Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                 Page 2
       Case 24-03472-5-DMW                      Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                     Page 15 of
                                                                60
                                                                                                                                                      Cash
Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                            Value
-NONE-

          6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

Description
-NONE-

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity
-NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                        Owner
                                        (D1)Debtor 1
Description of Property          Market (D2)Debtor 2 Lien                                    Amount                Net       Value Claimed as Exempt
and Address                       Value (J)Joint     Holder                                   of Lien            Value Pursuant to NCGS 1C-1601(a)(2)
2008 Ford Focus               1,000.00                                                                       1,000.00                               965.86
170,000 miles
Valued at FMV
(inherited but not
titled in Debtor's
name yet);
Location: 5148
Holly Ridge Farm
Rd, Raleigh NC
27616
Checking: 1/2                 1,034.00                                                                       517.00                                 517.00
interest in jointly                                                                                      50% owned
owned (with
spouse): Wells
Fargo. Balance =
$1,034.00.
Savings: 1/2                  6,000.27                                                                      3,000.14                             3,000.14
interest in jointly                                                                                      50% owned
owned (with
spouse): Wells
Fargo. Balance =
$6,000.27.

                                                            VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                            4,483.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

Type of Account\Location of Account\Last Four Digits of Account Number
Roth IRA: Wealthfront

           10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be
used for the child's college or university expenses.

College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
-NONE-
Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                   Page 3
       Case 24-03472-5-DMW                      Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                      Page 16 of
                                                                60

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
-NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

Type of Support\Amount\Location of Funds
-NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

Description of                          Market Lien                                                                 Amount                             Net
Property and Address                     Value Holder                                                                of Lien                         Value
5148 Holly Ridge                  451,900.00 Shellpoint Mortgage Servicing                                     238,146.71                      104,126.65
Farm Rd Raleigh,                             Stoneridge Owners Assoc., Inc.                                      5,500.00                     50% owned
NC 27616 Wake
County
Valued at Zillow
value

                                                                                                    VALUE CLAIMED AS EXEMPT: $                208,253.29

          14. NORTH CAROLINA PENSION FUND EXEMPTIONS

         -NONE-

          15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

a.       Constitutional personal property ("wild card") exemption, N.C. Const. Art. X § 1                                                        1,000.00

          16. FEDERAL PENSION FUND EXEMPTIONS

         -NONE-

          17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

         -NONE-

          18. RECENT PURCHASES

          (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                  Market Lien                                                      Amount              Net
Description                                                        Value Holder                                                     of Lien          Value
-NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and
that was not acquired by transferring or using additional property.

Description of Replacement Property                            Description of Property Liquidated or Converted that May Be Exempt




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                   Page 4
       Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                   Page 17 of
                                                                 60

           19. The debtor's property is subject to the following claims:

a.         Of the United States or its agencies as provided by federal law.
b.         Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
c.         Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
d.         Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
e.         For payment of obligations contracted for the purchase of specific real property affected.
f.         For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
           notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
g.         For statutory liens, on the specific property affected, other than judicial liens.
h.         For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
i.         For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
j.         Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
k.         Debts of a kind specified in 11 U.S.C. § 522(c).

                                   Nature of                               Amount of Description of                                 Value               Net
Claimant                           Claim                                      Claim Property                                   of Property            Value
-NONE-

         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


           None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.


                               UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                          TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

         I,   Alona Chervina Keys            , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as
Exempt, consisting of 5 sheets, and that they are true and correct to the best of my knowledge, information and belief.




Executed on: November 3, 2024                                                     /s/ Alona Chervina Keys
                                                                                  Alona Chervina Keys
                                                                                                                     Debtor




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                    Page 5
         Case 24-03472-5-DMW                              Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 18 of
                                                                          60
Fill in this information to identify your case:

Debtor 1                   Alona Chervina Keys
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             EASTERN DISTRICT OF NORTH CAROLINA

Case number           24-03472-5-DMW
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Shellpoint Mortgage
2.1                                              Describe the property that secures the claim:               $238,146.71               $451,900.00                     $0.00
        Servicing
        Creditor's Name                          5148 Holly Ridge Farm Rd Raleigh,
                                                 NC 27616 Wake County
        PO Box 10826                             Valued at Zillow value
                                                 As of the date you file, the claim is: Check all that
        Greenville, SC                           apply.
        29603-0826                                   Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred          01/26/2016                Last 4 digits of account number        8843




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
          Case 24-03472-5-DMW                               Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                 Page 19 of
                                                                            60
Debtor 1 Alona Chervina Keys                                                                                 Case number (if known)        24-03472-5-DMW
              First Name                  Middle Name                      Last Name


        State Employees Credit
2.2                                                                                                                 $12,854.27                 $18,163.00             $0.00
        Union                                      Describe the property that secures the claim:
        Creditor's Name                            2018 Chrysler Pacifica 98,000 miles
                                                   1/2 interest in vehicle jointly owned
                                                   with spouse. Vehicle valued at JD
                                                   Power average retail of $18,163.00.
                                                   Location: 5148 Holly Ridge Farm
                                                   Rd, Raleigh NC 27616
                                                   As of the date you file, the claim is: Check all that
        P.O. Box 25279                             apply.
        Raleigh, NC 27611                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number


        Stoneridge Owners
2.3                                                                                                                   $5,500.00               $451,900.00             $0.00
        Assoc., Inc.                               Describe the property that secures the claim:
        Creditor's Name                            5148 Holly Ridge Farm Rd Raleigh,
        c/o Sentry Management                      NC 27616 Wake County
        Inc.                                       Valued at Zillow value
        2180 West State Rd. 434,                   As of the date you file, the claim is: Check all that
                                                   apply.
        Suite 5000
        Longwood, FL 32779                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number



  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $256,500.98
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $256,500.98

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           LOGS Legal Group LLP
           10130 Perimeter Parkway                                                                   Last 4 digits of account number
           Suite 400
           Charlotte, NC 28216



Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 3
       Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 20 of
                                                                 60
Debtor 1 Alona Chervina Keys                                                       Case number (if known)          24-03472-5-DMW
           First Name             Middle Name             Last Name


[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.3
        Roger W. Knight, PA
        8510 Six Forks Rd.                                                   Last 4 digits of account number
        Suite 102
        Raleigh, NC 27615

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.3
        Sentry Management
        3109 Poplarwood Ct                                                   Last 4 digits of account number
        Suite 310
        Raleigh, NC 27604

[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?   2.1
        Shellpoint
        PO Box 650840                                                        Last 4 digits of account number
        Dallas, TX 75265-0840




Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 3
         Case 24-03472-5-DMW                             Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                    Page 21 of
                                                                         60
Fill in this information to identify your case:

Debtor 1                     Alona Chervina Keys
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                EASTERN DISTRICT OF NORTH CAROLINA

Case number           24-03472-5-DMW
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority               Nonpriority
                                                                                                                                            amount                 amount
2.1          Sheree Cameron                                       Last 4 digits of account number                            $6,000.00             $6,000.00                    $0.00
             Priority Creditor's Name
             Cameron Law                                          When was the debt incurred?
             8019 Atamasco Circle
             Raleigh, NC 27616
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated

             No                                                      Other. Specify    Administrative Expenses
             Yes                                                                       Attorney Fees


Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
                                                                                                               31409
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 22 of
                                                                       60
Debtor 1 Alona Chervina Keys                                                                     Case number (if known)         24-03472-5-DMW

4.1      Amazon Store Card                                   Last 4 digits of account number                                                           $217.00
         Nonpriority Creditor's Name
         410 Terry Ave N                                     When was the debt incurred?
         Seattle, WA 98109
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.2      Amazon Store Card                                   Last 4 digits of account number                                                           $200.00
         Nonpriority Creditor's Name
         Box 71711                                           When was the debt incurred?
         Philadelphia, PA 19176
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.3      Barclays Bank Delaware                              Last 4 digits of account number                                                           $174.00
         Nonpriority Creditor's Name
         P.O. Box 8803                                       When was the debt incurred?
         Wilmington, DE 19899
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 9
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 23 of
                                                                       60
Debtor 1 Alona Chervina Keys                                                                     Case number (if known)         24-03472-5-DMW

4.4      BJ's Master Card Capital One                        Last 4 digits of account number                                                          $4,000.00
         Nonpriority Creditor's Name
         PO Box 71087                                        When was the debt incurred?
         Charlotte, NC 28272
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.5      Bull City Financial                                 Last 4 digits of account number                                                           $399.00
         Nonpriority Creditor's Name
         2609 N Duke St #500                                 When was the debt incurred?
         Durham, NC 27704
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collections


4.6      Bull City Financial                                 Last 4 digits of account number                                                          $2,821.00
         Nonpriority Creditor's Name
         2609 N Duke St #500                                 When was the debt incurred?
         Durham, NC 27704
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collections




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 9
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 24 of
                                                                       60
Debtor 1 Alona Chervina Keys                                                                     Case number (if known)         24-03472-5-DMW

4.7      Bull City Financial                                 Last 4 digits of account number                                                           $571.00
         Nonpriority Creditor's Name
         2609 N Duke St #500                                 When was the debt incurred?
         Durham, NC 27704
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collections


4.8      Capital One Platinum Card                           Last 4 digits of account number                                                          $3,578.00
         Nonpriority Creditor's Name
         PO Box 71083                                        When was the debt incurred?
         Charlotte, NC 28272
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.9      Chase Freedom                                       Last 4 digits of account number                                                           $973.00
         Nonpriority Creditor's Name
         Cardmember Services                                 When was the debt incurred?
         PO Box 6294
         Carol Stream, IL 60197
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 9
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 25 of
                                                                       60
Debtor 1 Alona Chervina Keys                                                                     Case number (if known)         24-03472-5-DMW

4.1
0        Citibank                                            Last 4 digits of account number                                                           $584.00
         Nonpriority Creditor's Name
         PO Box 9001037                                      When was the debt incurred?
         Louisville, KY 40290
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.1
1        Credit One Bank                                     Last 4 digits of account number                                                           $502.00
         Nonpriority Creditor's Name
         P.O. Box 98873                                      When was the debt incurred?
         Las Vegas, NV 89193
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.1
2        Evolve Bank And Trust                               Last 4 digits of account number                                                           $217.00
         Nonpriority Creditor's Name
         PO Box 4153                                         When was the debt incurred?
         Woburn, MA 01888
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 9
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 26 of
                                                                       60
Debtor 1 Alona Chervina Keys                                                                     Case number (if known)         24-03472-5-DMW

4.1
3        Jefferson Capital Systems, LLC                      Last 4 digits of account number                                                           $425.00
         Nonpriority Creditor's Name
         200 14th Avenue                                     When was the debt incurred?
         Sartell, MN 56377
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collections


4.1
4        Macy's Store Card                                   Last 4 digits of account number                                                             $39.00
         Nonpriority Creditor's Name
         6716 Grade Lane Bldg. 9, Suite 910                  When was the debt incurred?
         Louisville, KY 40290
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.1
5        Paypal Cashback Mastercard                          Last 4 digits of account number                                                          $3,022.00
         Nonpriority Creditor's Name
         PO Box 965004                                       When was the debt incurred?
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 9
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 27 of
                                                                       60
Debtor 1 Alona Chervina Keys                                                                     Case number (if known)         24-03472-5-DMW

4.1
6        Paypal Cashback Mastercard                          Last 4 digits of account number                                                          $1,402.00
         Nonpriority Creditor's Name
         PO Box 965004                                       When was the debt incurred?
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases


4.1
7        SCA Collection                                      Last 4 digits of account number                                                             $66.00
         Nonpriority Creditor's Name
         300 E Arlington Blvd # 6A                           When was the debt incurred?
         Greenville, NC 27858
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collections


4.1
8        Synchrony Bank for TJX                              Last 4 digits of account number                                                           $485.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?
         PO Box 71757
         Philadelphia, PA 19176-1757
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card Purchases




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 9
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                            Page 28 of
                                                                       60
Debtor 1 Alona Chervina Keys                                                                       Case number (if known)         24-03472-5-DMW

4.1
9         The Bank of Missouri                                 Last 4 digits of account number                                                               $677.00
          Nonpriority Creditor's Name
          PO Box 4477                                          When was the debt incurred?
          Beaverton, OR 97076
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card Purchases


4.2       WAKE COUNTY TAX
0         ADMINISTRATION                                       Last 4 digits of account number                                                                  $0.00
          Nonpriority Creditor's Name
          PO Box 2331                                          When was the debt incurred?
          Raleigh, NC 27602-2331
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   ** FOR NOTICE PURPOSES ONLY **


4.2
1         Wake Radiology                                       Last 4 digits of account number       1324                                                 $1,480.29
          Nonpriority Creditor's Name
          PO Box 603435                                        When was the debt incurred?
          Charlotte, NC 28260
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Medical Expenses

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 8 of 9
        Case 24-03472-5-DMW                             Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                Page 29 of
                                                                        60
Debtor 1 Alona Chervina Keys                                                                            Case number (if known)         24-03472-5-DMW
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One Bank                                             Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
P.O. Box 30285                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84130-0285
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Citibank                                                     Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 6530                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
The Lakes, NV 88901
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Wake Radiology                                               Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 19368                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Raleigh, NC 27619
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                     6,000.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                     6,000.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                    21,832.29

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                    21,832.29




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 9 of 9
         Case 24-03472-5-DMW                               Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                Page 30 of
                                                                           60
Fill in this information to identify your case:

Debtor 1                  Alona Chervina Keys
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               EASTERN DISTRICT OF NORTH CAROLINA

Case number           24-03472-5-DMW
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
         Case 24-03472-5-DMW                                Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                    Page 31 of
                                                                            60
Fill in this information to identify your case:

Debtor 1                   Alona Chervina Keys
                           First Name                           Middle Name       Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name       Last Name


United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NORTH CAROLINA

Case number           24-03472-5-DMW
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Brian Keys                                                                           Schedule D, line   2.1
               5148 Holly Ridge Farm Rd                                                             Schedule E/F, line
               Raleigh, NC 27616
                                                                                                    Schedule G
                                                                                                  Shellpoint Mortgage Servicing



   3.2         Brian Keys                                                                           Schedule D, line   2.3
               5148 Holly Ridge Farm Rd                                                             Schedule E/F, line
               Raleigh, NC 27616
                                                                                                    Schedule G
                                                                                                  Stoneridge Owners Assoc., Inc.



   3.3         Brian Keys                                                                           Schedule D, line   2.2
               5148 Holly Ridge Farm Rd                                                             Schedule E/F, line
               Raleigh, NC 27616
                                                                                                    Schedule G
                                                                                                  State Employees Credit Union




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 1 of 1
         Case 24-03472-5-DMW                      Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 32 of
                                                                  60


Fill in this information to identify your case:

Debtor 1                      Alona Chervina Keys

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NORTH CAROLINA

Case number               24-03472-5-DMW                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation                                                        Network Engineer
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                   Cisco Systems, Inc.

       Occupation may include student        Employer's address
                                                                                                               170 West Tasman Dr
       or homemaker, if it applies.
                                                                                                               San Jose, CA 95134

                                             How long employed there?                                                   3 Years, 2 Months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $         10,682.52

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $   10,682.52




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
       Case 24-03472-5-DMW                    Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                     Page 33 of
                                                              60

Debtor 1   Alona Chervina Keys                                                                   Case number (if known)    24-03472-5-DMW


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $        10,682.52

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $        1,494.48
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $            0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $            0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $            0.00
     5e.    Insurance                                                                     5e.        $              0.00   $          310.00
     5f.    Domestic support obligations                                                  5f.        $              0.00   $            0.00
     5g.    Union dues                                                                    5g.        $              0.00   $            0.00
     5h.    Other deductions. Specify: Dental Plan                                        5h.+       $              0.00 + $           36.00
            Vision Plan                                                                              $              0.00   $            8.00
            Total Other Deductions                                                                   $              0.00   $        1,482.22
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $        3,330.70
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $        7,351.82
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $            0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $            0.00
     8h. Other monthly income. Specify: Bonus (pro-rated, estimated)                      8h.+ $                    0.00 + $        1,159.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           1,159.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $        8,510.82 = $           8,510.82
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          8,510.82
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
     Case 24-03472-5-DMW                           Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                      Page 34 of
                                                                   60


Fill in this information to identify your case:

Debtor 1                 Alona Chervina Keys                                                               Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NORTH CAROLINA                                         MM / DD / YYYY

Case number           24-03472-5-DMW
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Child                                10                   Yes
                                                                                                                                             No
                                                                                   Child                                12                   Yes
                                                                                                                                             No
                                                                                   Child                                14                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            500.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             50.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
      Case 24-03472-5-DMW                        Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                              Page 35 of
                                                                 60

Debtor 1     Alona Chervina Keys                                                                       Case number (if known)      24-03472-5-DMW

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                              385.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                              180.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                              600.00
      6d. Other. Specify:                                                                                    6d.   $                                0.00
7.    Food and housekeeping supplies                                                                          7.   $                            1,400.00
8.    Childcare and children’s education costs                                                                8.   $                              420.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                              200.00
10.   Personal care products and services                                                                    10.   $                              300.00
11.   Medical and dental expenses                                                                            11.   $                              104.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                   0.00
14.   Charitable contributions and religious donations                                                       14. $                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a.    $                               178.00
      15b. Health insurance                                                                                15b.    $                                 0.00
      15c. Vehicle insurance                                                                               15c.    $                               185.00
      15d. Other insurance. Specify: Pet Insurance                                                         15d.    $                                54.60
             Home Warranty                                                                                         $                                64.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                               16. $                                                      0.00
17. Installment or lease payments:
    17a. Car payments for Vehicle 1                                                      17a. $                                                    500.00
    17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
    17c. Other. Specify:                                                                 17c. $                                                      0.00
    17d. Other. Specify:                                                                 17d. $                                                      0.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                     0.00
19. Other payments you make to support others who do not live with you.                         $                                                  150.00
    Specify: Assistance for Debtor's Elderly Father                                        19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                     0.00
    20b. Real estate taxes                                                               20b. $                                                     0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21. Other: Specify:    Pet Care                                                            21. +$                                                 150.00
    Non-Filing Spouse's Unsecured Debt Payment                                                  +$                                                100.00
    Proposed Chapter 13 Plan Payment                                                            +$                                              2,440.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     8,510.60
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     8,510.60
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               8,510.82
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,510.60

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    0.22

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
         Case 24-03472-5-DMW                      Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                              Page 36 of
                                                                  60




Fill in this information to identify your case:

Debtor 1                    Alona Chervina Keys
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      EASTERN DISTRICT OF NORTH CAROLINA

Case number              24-03472-5-DMW
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Alona Chervina Keys                                           X
             Alona Chervina Keys                                               Signature of Debtor 2
             Signature of Debtor 1

             Date       November 3, 2024                                       Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
         Case 24-03472-5-DMW                        Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                     Page 37 of
                                                                    60



Fill in this information to identify your case:

Debtor 1                  Alona Chervina Keys
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          EASTERN DISTRICT OF NORTH CAROLINA

Case number           24-03472-5-DMW
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                            Dates Debtor 2
                                                          lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income           Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                               exclusions)                                                and exclusions)




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
        Case 24-03472-5-DMW                         Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                      Page 38 of
                                                                    60
Debtor 1     Alona Chervina Keys                                                                      Case number (if known)   24-03472-5-DMW


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                      Debtor 2
                                                Sources of income              Gross income from              Sources of income              Gross income
                                                Describe below.                each source                    Describe below.                (before deductions
                                                                               (before deductions and                                        and exclusions)
                                                                               exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe
      Paid ordinary payments, in part,                                                          $0.00                $0.00        Mortgage
      on bills and loans.                                                                                                         Car
                                                                                                                                  Credit Card
                                                                                                                                  Loan Repayment
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Other


      State Employees Credit Union                        9/2024                           $1,500.00          $12,854.27          Mortgage
      P.O. Box 25279                                      8/2024                                                                  Car
      Raleigh, NC 27611                                   7/2024
                                                                                                                                  Credit Card
                                                                                                                                  Loan Repayment
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Other




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
        Case 24-03472-5-DMW                         Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                        Page 39 of
                                                                    60
Debtor 1     Alona Chervina Keys                                                                      Case number (if known)    24-03472-5-DMW


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                          Status of the case
      Case number
      Stoneridge Owners Assoc., Inc. vs.                  Claim of Lien                Wake County District Court                  Pending
      Brian Keys and Alona Keys                           (HOA)                        Attn: Clerk                                 On appeal
      23M004922-910                                                                    316 Fayetteville St.
                                                                                                                                   Concluded
                                                                                       Raleigh, NC 27601
                                                                                                                                Lien against Debtor

      In the Matter of a Foreclosure of a                 Foreclosure                  Wake County Superior                        Pending
      Deed of Trust Executed by Brian                                                  Court                                       On appeal
      Keys and Alona Keys...                                                           Attn: Clerk
                                                                                                                                   Concluded
      24SP000547-910                                                                   316 Fayetteville St.
                                                                                       Raleigh, NC 27601


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                           Describe the Property                                          Date                        Value of the
                                                                                                                                                        property
                                                          Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                           Describe the action the creditor took                          Date action was                Amount
                                                                                                                         taken




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                        Page 40 of
                                                                       60
Debtor 1     Alona Chervina Keys                                                                         Case number (if known)    24-03472-5-DMW


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                      Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                             lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment              Amount of
      Address                                                      transferred                                              or transfer was            payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Sheree Cameron                                               Attorney Fees                                            9/13/2024                   $500.00
      Cameron Law
      8019 Atamasco Circle
      Raleigh, NC 27616
      cameronbk.com


      Butterfly Financial Education, Inc.                          Credit Counseling Cost                                   9/26/2024                    $25.00
      96 Oak Creek Drive
      Clayton, NC 27520
      butterflyfe.com




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
        Case 24-03472-5-DMW                            Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                        Page 41 of
                                                                       60
Debtor 1      Alona Chervina Keys                                                                        Case number (if known)    24-03472-5-DMW


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment              Amount of
      Address                                                      transferred                                              or transfer was            payment
                                                                                                                            made
      QLS Legal Services                                           Representation of Debtor and spouse                      3/2024 -                  $4,000.00
      445 South Figueroa Street                                    in dealing with mortgage                                 7/2024
      Los Angeles, CA 90071                                        company/foreclosure.                                     monthly


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or         Date transfer was
      Address                                                      property transferred                       payments received or debts       made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                           Date Transfer was
                                                                                                                                               made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was              Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,             before closing or
      Code)                                                                                                           moved, or                          transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents                   Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                have it?
                                                                   State and ZIP Code)

      SECU                                                         Brian Keys and Alona                  Paperwork                                  No
      6408 Hilburn Dr                                              Keys                                                                             Yes
      Raleigh, NC 27613                                                                                  Closed post-petition.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
        Case 24-03472-5-DMW                          Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                        Page 42 of
                                                                     60
Debtor 1     Alona Chervina Keys                                                                            Case number (if known)   24-03472-5-DMW


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                   Who else has or had access                 Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)         to it?                                                                         have it?
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                          Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you        Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                  Status of the
      Case Number                                                Name                                                                           case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

              A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
         Case 24-03472-5-DMW                          Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 43 of
                                                                      60
Debtor 1      Alona Chervina Keys                                                                       Case number (if known)   24-03472-5-DMW



                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business               Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                              Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Alona Chervina Keys
Alona Chervina Keys                                                   Signature of Debtor 2
Signature of Debtor 1

Date      November 3, 2024                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
         Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                            Page 44 of
                                                                   60

Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Alona Chervina Keys                                                                     According to the calculations required by this
                                                                                                              Statement:
Debtor 2                                                                                                            1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:        Eastern District of North Carolina                                   2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number           24-03472-5-DMW
(if known)
                                                                                                                    3. The commitment period is 3 years.

                                                                                                                    4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                0.00      $        11,878.39
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                           Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                    0.00      $               0.00
  6. Net income from rental and other real property                Debtor 1
       Gross receipts (before all deductions)                        $      0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                    0.00      $               0.00




Official Form 122C-1          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
           Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 45 of
                                                                     60
Debtor 1     Alona Chervina Keys                                                                       Case number (if known)     24-03472-5-DMW


                                                                                                   Column A                       Column B
                                                                                                   Debtor 1                       Debtor 2 or
                                                                                                                                  non-filing spouse
                                                                                                   $                  0.00        $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                     $                  0.00        $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                        0.00        $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                   $                  0.00        $           0.00
                                                                                                   $                  0.00        $           0.00
                Total amounts from separate pages, if any.                                     +   $                  0.00        $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $                 0.00       +$          11,878.39    =$         11,878.39

                                                                                                                                                      Total average
                                                                                                                                                      monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                    $         11,878.39
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                   Non-Filing Spouse's Unsecured Debt Payment                              $              100.00
                                                                                           $
                                                                                           $

                   Total                                                               $                  100.00           Copy here=>            -            100.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                             $         11,778.39

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                               $         11,778.39




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                           page 2
           Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                             Page 46 of
                                                                     60
Debtor 1     Alona Chervina Keys                                                                           Case number (if known)   24-03472-5-DMW

               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $    141,340.68


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                NC

      16b. Fill in the number of people in your household.                      5
      16c. Fill in the median family income for your state and size of household.                                                                    $    119,490.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                    your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                11,878.39
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                  100.00


      19b. Subtract line 19a from line 18.                                                                                                       $         11,778.39


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $     11,778.39

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $    141,340.68




      20c. Copy the median family income for your state and size of household from line 16c                                                          $    119,490.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Alona Chervina Keys
       Alona Chervina Keys
       Signature of Debtor 1
      Date November 3, 2024
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                            page 3
           Case 24-03472-5-DMW           Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                            Page 47 of
                                                         60
Debtor 1    Alona Chervina Keys                                                   Case number (if known)   24-03472-5-DMW




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period             page 4
        Case 24-03472-5-DMW                     Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                      Page 48 of
                                                                60


Fill in this information to identify your case:

Debtor 1          Alona Chervina Keys

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:     Eastern District of North Carolina

Case number       24-03472-5-DMW
(if known)                                                                                                 Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                  04/22

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
   the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
   information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
   expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
   122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

   5.     The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return,
          plus the number of any additional dependents whom you support. This number may be different from                   5
          the number of people in your household.



   National Standards              You must use the IRS National Standards to answer the questions in lines 6-7.



   6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
          Standards, fill in the dollar amount for food, clothing, and other items.                                              $          2,413.00


   7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
          people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                              Chapter 13 Calculation of Your Disposable Income                                            page 1
           Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                            Page 49 of
                                                                     60
Debtor 1         Alona Chervina Keys                                                                 Case number (if known)      24-03472-5-DMW

   People who are under 65 years of age
           7a. Out-of-pocket health care allowance per person             $             83
           7b. Number of people who are under 65                          X         5
           7c. Subtotal. Multiply line 7a by line 7b.                     $       415.00              Copy here=>        $          415.00

   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person             $          158
           7e. Number of people who are 65 or older                       X         0
           7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00              Copy here=>        $             0.00

           7g. Total. Add line 7c and line 7f                                                $       415.00                   Copy total here=> $       415.00


   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses
   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
   separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
   8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                               $               800.00
   9.      Housing and utilities - Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses.                                                     $        2,039.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file
                  for bankruptcy. Next divide by 60.

                  Name of the creditor                                        Average monthly
                                                                              payment

                  Shellpoint Mortgage Servicing                               $         1,558.34
                  Stoneridge Owners Assoc., Inc.                              $              91.67

                                                                                                      Copy                                      Repeat this amount
                                   9b. Total average monthly payment          $         1,650.01      here=>        -$             1,650.01 on line 33a.

           9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage                                              Copy
                  or rent expense). If this number is less than $0, enter $0.                            $               388.99        here=>    $         388.99


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $            0.00

            Explain why:




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                page 2
           Case 24-03472-5-DMW                        Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                   Page 50 of
                                                                      60
Debtor 1     Alona Chervina Keys                                                                                Case number (if known)   24-03472-5-DMW

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.
   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                               $       260.00
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.
    Vehicle 1         Describe Vehicle 1: 2018 Chrysler Pacifica 98,000 miles 1/2 interest in vehicle
                                                jointly owned with spouse. Vehicle valued at JD Power
                                                average retail of $18,163.00. Location: 5148 Holly Ridge Farm
                                                Rd, Raleigh NC 27616
   13a. Ownership or leasing costs using IRS Local Standard..................................................         $             619.00
   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                               Average monthly
                                                                                  payment
                State Employees Credit Union                                      $              236.44

                                                                                                                                                  Repeat this
                                                                                                                 Copy                             amount on
                                       Total Average Monthly Payment              $              236.44          here =>       -$        236.44   line 33b.


   13c. Net Vehicle 1 ownership or lease expense                                                                                             Copy net
                                                                                                                                             Vehicle 1
           Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                  expense here
                                                                                                                      $             382.56   =>              $   382.56

    Vehicle 2         Describe Vehicle 2:
   13d. Ownership or leasing costs using IRS Local Standard..................................................         $               0.00
   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                               Average monthly
                                                                                  payment

                                                                                  $

                                                                                                                 Copy                          Repeat this
                                                                                                                 here                          amount on line
                                       Total average monthly payment              $                                                      0.00 33c.
                                                                                                                 =>       -$

   13f. Net Vehicle 2 ownership or lease expense                                                                                             Copy net
                                                                                                                                             Vehicle 2
           Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                expense here
                                                                                                                      $               0.00   =>              $     0.00

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                      $         0.00
   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                             $         0.00




Official Form 122C-2                                     Chapter 13 Calculation of Your Disposable Income                                                        page 3
           Case 24-03472-5-DMW                       Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                  Page 51 of
                                                                     60
Debtor 1     Alona Chervina Keys                                                                    Case number (if known)   24-03472-5-DMW

   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.
   16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
       your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
       and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.                                                                                $        1,924.47
   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $            0.00
   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
       of life insurance other than term.                                                                                              $         178.00
   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $            0.00
   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.     $            0.00
   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                       $            0.00
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                      $            0.00
   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                     +$            0.00

   24. Add all of the expenses allowed under the IRS expense allowances.                                                              $       6,762.02
       Add lines 6 through 23.
   Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                            $         393.33
           Disability insurance                                        $           37.40
           Health savings account                                    +$          632.49

           Total                                                           $    1,063.22        Copy total here=>                     $         1,063.22


           Do you actually spend this total amount?
                  No. How much do you actually spend?
                   Yes                                                     $

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                            $         150.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
           By law, the court must keep the nature of these expenses confidential.                                                      $            0.00



Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                           page 4
           Case 24-03472-5-DMW                    Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                          Page 52 of
                                                                  60
Debtor 1     Alona Chervina Keys                                                                   Case number (if known)   24-03472-5-DMW
   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
           If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
           8, then fill in the excess amount of home energy costs
           You must give your case trustee documentation of your actual expenses, and you must show that the additional
           amount claimed is reasonable and necessary.                                                                                     $              0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
           You must give your case trustee documentation of your actual expenses, and you must explain why the amount
           claimed is reasonable and necessary and not already accounted for in lines 6-23.
           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.            $           420.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk's office.
           You must show that the additional amount claimed is reasonable and necessary.                                                   $            86.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
           Do not include any amount more than 15% of your gross monthly income.                                                           $           100.00

   32. Add all of the additional expense deductions.                                                                                       $        1,819.22
       Add lines 25 through 31.

   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
         To calculate the total average monthly payment, add all amounts that are contractually due to each secured
         creditor in the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home                                                                                                    Average monthly
                                                                                                                                       payment
   33a.      Copy line 9b here                                                                                                    =>   $           1,650.01
             Loans on your first two vehicles
   33b.      Copy line 13b here                                                                                                   =>   $            236.44
   33c.      Copy line 13e here                                                                                                   =>   $               0.00
   33d.      List other secured debts:
   Name of each creditor for other secured debt          Identify property that secures the debt                     Does payment
                                                                                                                     include taxes
                                                                                                                     or insurance?
                                                                                                                            No
            -NONE-                                                                                                          Yes        $

                                                                                                                            No
                                                                                                                            Yes        $

                                                                                                                            No
                                                                                                                            Yes   +    $


                                                                                                                                  Copy
                                                                                                                                  total
   33e      Total average monthly payment. Add lines 33a through 33d                                   $           1,886.45       here=>       $    1,886.45




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                                    page 5
           Case 24-03472-5-DMW                                    Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                                  Page 53 of
                                                                                  60
Debtor 1      Alona Chervina Keys                                                                                      Case number (if known)     24-03472-5-DMW
   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?
              No.      Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.
    Name of the creditor                                         Identify property that secures the debt                    Total cure amount                  Monthly cure
                                                                                                                                                               amount
                                                                 5148 Holly Ridge Farm Rd Raleigh, NC
                                                                 27616 Wake County
    Shellpoint Mortgage Servicing                                Valued at Zillow value               $                                27,652.89 ÷ 60 = $                     460.88
                                                                                                                        $                            ÷ 60 = $
                                                                                                                        $                            ÷ 60 = +$
                                                                                                                                                          Copy
                                                                                                                                                          total
                                                                                                                Total $                     460.88        here=>          $      460.88

   35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No.      Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.
                         Total amount of all past-due priority claims                                                       $             6,000.00         ÷ 60       $          100.00
   36. Projected monthly Chapter 13 plan payment                                                                            $             2,377.20
       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).                                           X             8.00
       To find a list of district multipliers that includes your district, go online using the link specified in the
       separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                        Copy total
       Average monthly administrative expense                                                                                   $        190.18         here=> $                 190.18


   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                          $       2,637.51


   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                                      $        6,762.02
           Copy line 32, All of the additional expense deductions                                  $        1,819.22
           Copy line 37, All of the deductions for debt payment                                   +$        2,637.51


           Total deductions....................................................................    $       11,218.75                Copy total here=>             $           11,218.75




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                             page 6
           Case 24-03472-5-DMW                 Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                            Page 54 of
                                                               60
Debtor 1    Alona Chervina Keys                                                                 Case number (if known)     24-03472-5-DMW

Part 2:      Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

   39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
       Statement of Your Current Monthly Income and Calculation of Commitment Period.                                          $                  11,778.39
   40. Fill in any reasonably necessary income you receive for support for dependent
       children. The monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I of Form 122C-1, that you
       received in accordance with applicable nonbankruptcy law to the extent reasonably
       necessary to be expended for such child.                                                         $                   0.00
   41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
       employer withheld from wages as contributions for qualified retirement plans, as specified
       in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
       specified in 11 U.S.C. § 362(b)(19).                                                             $                 669.51
   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here          =>    $          11,218.75
   43. Deduction for special circumstances. If special circumstances justify additional
       expenses and you have no reasonable alternative, describe the special circumstances and
       their expenses. You must give your case trustee a detailed explanation of the special
       circumstances and documentation for the expenses.

   Describe the special circumstances                                              Amount of expense

                                                                               $

                                                                               $

                                                                               $

                                                                                                       Copy
                                                                    Total $                0.00        here=> $                    0.00


                                                                                                                              Copy
   44. Total adjustments. Add lines 40 through 43.                                         =>      $         11,888.26        here=> -$           11,888.26


   45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                 $              -109.87


Part 3:      Change in Income or Expenses

   46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
       have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
       time your case will be open, fill in the information below. For example, if the wages reported increased after
       you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
       wages increased, fill in when the increase occurred, and fill in the amount of the increase.

   Form          Line         Reason for change                                     Date of change          Increase or        Amount of change
                                                                                                            decrease?
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease        $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease        $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease        $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease        $




Official Form 122C-2                              Chapter 13 Calculation of Your Disposable Income                                                   page 7
           Case 24-03472-5-DMW                    Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 55 of
                                                                  60
Debtor 1     Alona Chervina Keys                                                                 Case number (if known)   24-03472-5-DMW




Part 4:        Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X /s/ Alona Chervina Keys
            Alona Chervina Keys
            Signature of Debtor 1
   Date November 3, 2024
        MM / DD / YYYY




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                              page 8
       Case 24-03472-5-DMW                        Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                             Page 56 of
                                                                  60

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1
       Case 24-03472-5-DMW                        Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                Page 57 of
                                                                  60


       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
       Case 24-03472-5-DMW                        Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                               Page 58 of
                                                                  60
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
       Case 24-03472-5-DMW                        Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                               Page 59 of
                                                                  60
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
          Case 24-03472-5-DMW                     Doc 13 Filed 11/03/24 Entered 11/03/24 17:23:07                                    Page 60 of
                                                                  60
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Eastern District of North Carolina
 In re       Alona Chervina Keys                                                                              Case No.      24-03472-5-DMW
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  6,500.00
             Prior to the filing of this statement I have received                                        $                     500.00
             Balance Due                                                                                  $                  6,000.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     November 3, 2024                                                         /s/ Sheree Cameron
     Date                                                                     Sheree Cameron
                                                                              Signature of Attorney
                                                                              Cameron Law
                                                                              8019 Atamasco Circle
                                                                              Raleigh, NC 27616
                                                                              919-627-7748 Fax: 866-851-2599
                                                                              cameronlaw@gmail.com
                                                                              Name of law firm
